Case 1:21-cv-00079-SPW-TJC Document 4

Brandon Hoskins

Adam J. Tunning

MOULTON BELLINGHAM PC

27 North 27" Street, Suite 1900

P. O. Box 2559

Billings, Montana 59103-2559

Telephone: (406) 248-773 1

Brandon. Hoskins@moultonbellingham.com
Adam.Tunning@moultonbellingham.com

Attorneys for Plaintiffs

Filed 07/16/21 Page 1 of 11

CLERK OF THE
DISTRICT COURT
-ERRY HALPIN
am) FB -S PF 14

Fl

DE

MONTANA THIRTEENTH JUDICIAL DISTRICT COURT, YELLOWSTONE COUNTY

YELLOWSTONE RENTAL PROPERTIES, LLC,
Plaintiff,
-Vs-

UNITED FINANCIAL CASUALTY COMPANY,
THE PROGRESSIVE CORPORATION, BRYAN
MCCLEAN, and MCCLEAN FAMILY
INVESTMENTS dba MCCLEAN FAMILY
INSURANCE AGENCY,

Defendants.

 

 

CauseNo. DY £17 0 2170150
Judge GREGORY R. TODD

COMPLAINT AND DEMAND FOR

JURY TRIAL

Plaintiff Yellowstone Rental Properties, LLC (“Yellowstone”), for its Complaint against

Defendants United Financial Casualty Company (“United”), The Progressive Corporation

(“Progressive”), Bryan McClean, and McClean Family Investments d/b/a McClean Family

Insurance Agency (“McClean Insurance”), states and alleges as follows:

PARTIES, JURISDICTION, & VENUE

I. Yellowstone is a Montana limited liability company in good standing, with its principal

office in Billings, Montana.

MOULTON BELLINGHAM PC
ATTORNEYS AT Law
Case 1:21-cv-00079-SPW-TJC Document 4 Filed 07/16/21 Page 2 of 11

2. Upon information and belief, Defendant Progressive is an Ohio Corporation with its
principal office in Mayfield Village, Ohio, which provided insurance services to Rainbelt Oilfield
Services, LLC meant to be utilized across state lines, including in Montana.

3. Upon information and belief, Defendant United is an Ohio Corporation with its principal
office in Mayfield Village, Ohio, which provided insurance services to Rainbelt Oilfield Services,
LLC meant to be utilized across state lines, including in Montana.

4, Upon information and belief, Defendant McClean Insurance is a North Dakota Limited
Liability Company with its principal place of business in Fargo, North Dakota, which provided
insurance services to Rainbelt Oilfield Services, LLC meant to be utilized across state lines,
including in Montana.

5. In addition, Rainbelt Oilfield Services, LLC (“Rainbelt”), the insured, is a Minnesota
limited liability company, which is now listed as inactive with the Minnesota and North Dakota
Secretaries of State. Yellowstone was granted judgment against Rainbelt in the District Court of
Yellowstone County related to an agreement between the parties to be executed and delivered in
Montana.

6. Venue is proper in Yellowstone County, because the claims as alleged in the Complaint
are based upon Defendants’ acts, or failures to act, relating to claims, causes of action, and liability
resulting from an agreement to be performed in Montana and delivered in Yellowstone County,
Montana. |

GENERAL ALLEGATIONS

7. Onoraround April 16,2017, Rainbelt agreed to provide services for Yellowstone to break

down and transport 24 modular units (the “Units”) from Bainville, MT to Billings, MT.

8. Rainbelt failed to transport the Units, and its actions caused significant damage to the Units.

2

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
Case 1:21-cv-00079-SPW-TJC Document4 Filed 07/16/21 Page 3 of 11

9. Yellowstone sued Rainbelt in Yellowstone County for damages related to Rainbelt’s
negligent actions.

10.On April 16, 2018, Yellowstone filed suit against Rainbelt, asserting claims for
Professional Negligence, Negligence, Breach of Contract, Unjust Enrichment/Quantum Meruit,
Breach of the Implied Covenant of Good Faith and Fair Dealing, Negligent Misrepresentation/
Constructive Fraud, and Deceit.

11. Rainbelt did not plead or otherwise defend in the case, and its default was entered on June
il, 2018.

12. On February 20 and 25 2019, the Court held a damages trial in which both Yellowstone
and Rainbelt presented evidence.

13. Upon belief and information, Defendants declined participation despite notice.

14, Following trial, the Court entered an Order awarding Yellowstone damages of
$1,764,827.37 resulting from Rainbelt’s failure to deliver the Units and breach of the underlying
contract.

15. Rainbelt was covered under a Commercial General Liability insurance policy during the
time it damaged the Units.

16. The 2017 Commercial General Liability insurance policy #03122531-6 issued to Rainbelt
(the “Rainbelt Policy”) covered the policy period of 3/20/2017 to 3/20/2018.

17. The Rainbelt Policy was issued by Progressive through its subsidiary United.

18. The Rainbelt Policy was issued by McClean Insurance as “Producer” with Bryan McClean
listed as a contact for insurer Progressive under the policy.

19. The Rainbelt Policy provided commercial general liability insurance with liability limits

of $1,000,000 per occurrence and $2,000,000 in general aggregate coverage.
3

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
Case 1:21-cv-00079-SPW-TJC Document4 Filed 07/16/21 Page 4 of 11

20. Upon information and belief, Bryan McClean was notified of a claim against the Rainbelt
Policy on or about March 9, 2018, before Yellowstone filed suit against Rainbelt.

21. Bryan McClean and McClean Insurance's knowledge of Rainbelt’s claim was imputed to
Progressive and United. Mont. Code Ann. § 28-10-604.

22. Bryan McClean was again informed of Rainbelt’s need to make a claim on December 7,
2018 and December 28, 2018.

23, In January 2019, Bryan McClean informed counsel for Rainbelt that “loss runs” would be
needed to verify that insurance coverage was in force at the time Rainbelt damaged Yellowstone’s
Units.

24. Upon information and belicf, Rainbelt contacted Progressive on or around January 2019 to
request loss runs and inform Progressive of the claim.

25. Rainbelt provided loss runs to Bryan McClean on or around February 4, 2019.

26. Progressive and United did not contact Rainbelt’s attorney despite repcated requests to
defend and indemnify Rainbelt based on the property damage to the Units owned by Yellowstone.

27. Upon information and belief, Progressive and United never provided a reservation of rights
letter to Rainbelt.

28. Progressive and United did not provide a defense for Rainbelt in its litigation with
Yellowstone.

29. On May 15, 2019, the District Court of Yellowstone County issued its Findings of Fact,
Conclusions of Law, and Order, ordering Yellowstone is entitled to recover $1,764,827.37 from
Rainbelt.

30. In June 2019, Rainbelt again contacted Progressive to report its claim and the results of the
trial.

4

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
Case 1:21-cv-00079-SPW-TJC Document4 Filed 07/16/21 Page 5 of11

31. Progressive and United did not contact Rainbelt following entry of judgment against it on
September 23, 2019.

32. Rainbelt has not satisfied its judgment owed to Yellowstone.

33. Rainbelt has not instituted proceedings against United, Progressive, Bryan McClean, or
McClean Insurance related to their failure to defend against, or pay, under the Rainbelt Policy and
the judgment owed to Yellowstone.

34. Yellowstone is entitled to Rainbelt’s rights against United, Progressive, Bryan McClean,
and McClean Insurance.

Count I —- Violations of UTPA

35, Yellowstone incorporates the preceding allegations in this claim.

36. Yellowstone has suffered damages as a result of Progressive, United, Bryan McClean, and
McClean Insurance’s actions in handling Rainbelt’s insurance claim.

37. Progressive, United, Bryan McClean, and McClean Insurance have a duty handling claims
in Montana to understand and comply with Montana law and standards.

38. Progressive, United, Bryan McClean, and McClean Insurance violated Montana law by
failing to acknowledge and act reasonably promptly upon communications with respect to claims
arising under the Rainbelt Policy.

39. Progressive, United, Bryan McClean, and McClean Insurance violated Montana law by
failing to adopt and implement reasonable standards for the prompt investigation of claims arising
under insurance policies.

40. Progressive and United violated Montana law by refusing to pay claims without conducting

a reasonable investigation based upon all available information.

5

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
Case 1:21-cv-00079-SPW-TJC Document 4 Filed 07/16/21 Page 6 of 11

41. Progressive and United violated Montana law by neglecting to attempt in good faith to
effectuate prompt, fair, and equitable settlements of claims after liability became reasonably clear.

42. Progressive and United forced Yellowstone, as a third-party claimant under Mont, Code
Ann. § 33-18-242, to sue in order to recover the judgment due to it from Rainbelt and the insurers
under the insurance policy.

43. A final judgment has been entered in favor of Yellowstone in the amount of $1,7694,827.37
plus interest on the underlying claim between Rainbelt and Yellowstone for property damage to
the Units.

44, Progressive and United violated Montana law by failing to promptly settle claims when
liability was reasonably clear and by failing to promptly provide a reasonable explanation of the
basis for denial of a claim or lack of a response related to the claim.

45. Progressive, United, Bryan McClean and McClean Insurance acted in conscious or
intentional disregard of the high probability of injury to Yellowstone; thus, they acted with malice
under Montana law.

46. Yellowstone was damaged by Progressive, United, Bryan McClean, and McClean
Insurance's violations of Montana law, and Yellowstone is entitled to an award of compensatory
damages.

47. Yellowstone is also entitled to an award of punitive damages under Mont. Code Ann. $$
33-18-242(4) and 27-1-221.

Count II - Breach of Contract (Third-Party Claim)

48. Yellowstone incorporates the preceding allegations in this claim.

49. Progressive and United entered into an insurance contract with insured, Rainbelt.

6

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
Case 1:21-cv-00079-SPW-TJC Document4 Filed 07/16/21 Page 7 of 11

50, The Rainbelt Policy provides Commercial General Liability coverage for Rainbelt,
including coverage for Property Damage to property owned by third parties.

51. The damage caused by Rainbelt is covered under the Rainbelt Policy issued by Pro gressive
through its subsidiary United. Bryan McClean, as insurance agent working under McClean
Insurance, issued the policy to Rainbelt.

52. Progressive and United breached the Rainbelt Policy by failing to perform their obligations
to Rainbelt under the insurance policy.

53. Breaches include, but are not limited to, ignoring or refusing to pay for direct physical
losses covered under the policies, ignoring or refusing to defend Rainbelt in its litigation with
Yellowstone, and ignoring or refusing to satisfy the judgment owed by Rainbelt to Yellowstone.

54. The Rainbelt Policy recognizes that part of Progressive and United's performance includes
the obligation to pay money to satisfy Rainbelt’s obligation to parties injured by Rainbelt’s actions
covered under the Rainbelt Policy.

55. Rainbelt caused property damage to the Units owned by Yellowstone during the time it
was insured under the Rainbelt Policy.

56. Yellowstone is a third-party beneficiary under the insurance contract between Progressive,
United, and Rainbelt.

57. The Rainbelt Policy recognizes a duty in Progressive and United to compensate
Yellowstone, as a third-party beneficiary, for damage to Yellowstone’s property that was caused
by Rainbelt.

58. Rainbelt was damaged by Progressive and United’s breaches, in an amount to be

determined at trial.

7

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
Case 1:21-cv-00079-SPW-TJC Document4 Filed 07/16/21 Page 8 of 11

Count III — Negligence against Bryan McClean and McClean Insurance

29. Yellowstone incorporates the preceding allegations in this claim.

60. As insurance agent and producer for Progressive and United, McClean Insurance and
Bryan McClean had a duty to exercise reasonable care, including reasonable care in notifying
Progressive and United of claims made by Rainbelt.

61. Upon information and belief, Bryan McClean was aware of, and had notice of, Rainbelt’s
claim for injuries to Yellowstone on or about March 9, 2018.

62. Bryan McClean cither negligently failed to notify Progressive or United of Rainbelt’s claim
or negligently delayed in reporting the claim.

63. As a result of Bryan McClean and McClean Insurance’s negligence, Yellowstone has
suffered damage, including attorney’s fees and costs required to litigate its claims against Rainbelt.

64. For the negligence of Bryan McClean and McClean Insurance, Yellowstone is entitled to
damages in an amount te be proven at trial.

Count IV — Breach of Contract (First-Party Claim)

65, Yellowstone incorporates the preceding allegations in this claim.

66. Yellowstone is entitled to all of Rainbelt’s claims, counterclaims, causes of action, choses
in action, things in action, and rights to payment under the Rainbelt Policy.

67. Progressive and United entered into an insurance contract with insured, Rainbelt.

68. Progressive and United owed Rainbelt a duty to defend against Yellowstone’s claims.

69. Progressive and United breached their duty to defend and/or indemnify Rainbelt.

70, Progressive and United are estopped from denying coverage and are liable for all defense

costs and judgments.

8

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
Case 1:21-cv-00079-SPW-TJC Document4 Filed 07/16/21 Page 9 of 11

71. Further, the Rainbelt Policy provides Commercial General Liability coverage for Rainbelt,
including coverage for Property Damage.

72, Rainbelt caused property damage to the Units owned by Yellowstone.

73. The damage caused by Rainbelt is covered under the Rainbelt Policy issued by Progressive
through its subsidiary United. McClean, as insurance agent, issued the policy to Rainbelt.

74, Progressive and United breached the insurance policy by failing to perform their
obligations to Rainbelt under the insurance policy.

75, Breaches include, but are not limited to, ignoring or refusing to pay for direct physical
losses covered under the policies, ignoring or refusing to defend Rainbelt in its litigation with
Yellowstone, and ignoring or refusing to satisfy the judgment owed by the insured to Yellowstone.

76, Rainbelt was damaged by Progressive and United’s breaches of contract.

77, Yellowstone is owner of Rainbelt’s rights to causes of action or things in action against
United, Progressive, Bryan McClean, and McClean Insurance.

78. Yellowstone is entitled to recover for damages caused by breaches of the insurance contract
between Progressive, United, and Rainbelt.

Count V — Violations of UTPA (First-Party Claim)

79, Yellowstone incorporates the preceding allegations in this claim.

80. Yellowstone is entitled to all of Rainbelt’s claims, counterclaims, causes of action, choses
in action, things in action, and rights to payment under the insurance policy issued to Rainbelt by
Progressive and United through Bryan McClean and McClean Insurance.

81. Progressive, United, Bryan McClean, and McClean Insurance have a duty handling claims

in Montana to understand and comply with Montana law and standards.

9

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
Case 1:21-cv-00079-SPW-TJC Document 4 Filed 07/16/21 Page 10 of 11

82. Progressive, United, Bryan McClean, and McClean Insurance violated Montana law by
failing to acknowledge and act reasonably promptly upon communications with respect to claims
arising under the Rainbelt Policy.

83. Progressive, United, Bryan McClean, and McClean Insurance violated Montana law by
failing to adopt and implement reasonable standards for the prompt investigation of claims arising
under insurance policies.

84. Progressive and United violated Montana law by refusing to pay claims without conducting
a reasonable investigation based upon all available information.

85. Progressive and United violated Montana law by neglecting to attempt in good faith to
effectuate prompt, fair, and equitable settlements of claims after liability became reasonably clear.

86. Progressive and United forced Yellowstone, as a successor-owner of Rainbelt’s rights
under the insurance contract, to sue under Mont. Code Ann. § 33-18-242 in order to recover the
amounts due to Rainbelt under the insurance policy.

87. Progressive and United violated Montana law by failing to promptly settle claims when
liability has become reasonably clear and to promptly provide a reasonable explanation of the basis
for denial of a claim or lack of a response related to the claim.

88. Progressive, United, Bryan McClean and McClean Insurance acted in conscious or
intentional disregard of the high probability of injury to Rainbelt; thus, they acted with malice
under Montana law.

89. Rainbelt was damaged by Progressive, United, Bryan McClean, and McClean Insurance’s
violations of Montana law. Yellowstone, as successor-owner of Rainbelt’s rights under the
Rainbelt Policy, is entitled to Rainbelt’s damages for Progressive, United, Bryan McClean and

McClean Insurance’s violations under the Montana Unfair Trade Practices Act.

10

MOULTON BELLINGHAM PC
ATTORNEYS aTLaw
Case 1:21-cv-00079-SPW-TJC Document 4 Filed 07/16/21 Page 11 of 11

90. Yellowstone, as successor-owner of Rainbelt’s claims is also entitled to an award of
punitive damages under Mont. Code Ann. §§ 33-18-242(4) and 27-1-221.

WHEREFORE, Yellowstone prays for judgment against Progressive, United, Bryan
McClean and McClean Insurance, an award of compensatory and punitive damages to be
determined at trial, reimbursement of attorney fees and costs, and such other and further relief as
this court deems proper.

PLAINTIFF DEMANDS TRIAL BY JURY

DATED this §~ day of February, 2021.

MOULTON BELLINGHAM PC

py fo, 4

~ Brandon Hoskins \
Adam J. Tunning
27 North 27" Street, Suite 1900
P. O. Box 2559
Billings, Montana 59103-2559

 

Attorneys for Plaintiffs

11

MOULTON BELLINGHAM PC
ATTORNEYS AT LAW
